Case 6:22-cr-00053-RBD-LHP Document 27 Filed 05/10/22 Page 1 of 3 PageID 63


                      UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

  UNITED STATES OF AMERICA

  VS.                                              CASE NO: 6:22-cr-53-RBD-LHP

  DOMINIC JOHN TADDEO, JR.


                       NOTICE OF CHANGE OF PLEA HEARING

        TAKE NOTICE that a Change of Plea hearing is scheduled for TUESDAY,

  MAY 17, 2022 at 2:00 P.M. This hearing will be held before the Honorable Leslie

  Hoffman Price in Courtroom No. 5D, Fifth Floor, U.S. Courthouse, 401 W. Central

  Boulevard, Orlando, Florida. The Defendant is required to be present.

        If there have been any representations or promises made to the Defendant,

  including that the United States will recommend that the case be handled in an

  expedited manner, such representations and promises must be set forth in a written

  document filed with the Court before the Change of Plea hearing begins.

        If the Defendant intends to enter a plea of guilty without the benefit of a plea

  agreement, the United States shall file no later than 48 hours before the Change of

  Plea hearing, a Notice of Essential Elements, Maximum Penalties and Factual Basis.

  The Defendant shall file no later than 24 hours before the Change of Plea Hearing,

  a Notice of Essential Elements, Maximum Penalties and Factual Basis if he/she is

  not in agreement with the Government’s filing. This notice shall set forth the

  essential elements of each offense to which the Defendant proposes to plead guilty

  with supporting citation to the Eleventh Circuit Pattern Jury Instructions or other
Case 6:22-cr-00053-RBD-LHP Document 27 Filed 05/10/22 Page 2 of 3 PageID 64



  authority. This notice shall set forth the maximum (and minimum) term of

  imprisonment, maximum fine, maximum (and minimum) term of supervised

  release and the special assessment applicable to each offense to which the

  Defendant intends to plead guilty with supporting statutory citations.

        If the Defendant requires the use of an interpreter at the hearing, it is the

  responsibility of counsel for the Defendant to make arrangements to have the

  Indictment or Information, Waiver of Indictment (if applicable), Plea Agreement or

  Notice of Essential Elements and Maximum Penalties, Consent to Proceed Before

  the Magistrate Judge and Consent to Institute a Presentence Investigation translated

  for the Defendant before the Change of Plea hearing begins.

        Failure to comply with the requirements of this Order may result in

  cancellation of the scheduled Change of Plea hearing. If the Change of Plea hearing

  cannot be rescheduled before the beginning of the trial term, the parties must file a

  motion for permission to conduct the Change of Plea hearing after the beginning of

  the trial term.

  Dated: May 10, 2022

                                           LESLIE HOFFMAN PRICE
                                      UNITED STATES MAGISTRATE JUDGE

                                       By: Edward Jackson, Courtroom Deputy




                                          -2-
Case 6:22-cr-00053-RBD-LHP Document 27 Filed 05/10/22 Page 3 of 3 PageID 65



  Copies furnished to:

  United States Marshal
  United States Attorney
  United States Probation Office
  United States Pretrial Services Office
  Counsel for Defendant


  PLEASE NOTE: Photo I.D. is required to enter the United States Courthouse.
  Also, cellular telephones and laptop computers are prohibited in the Courthouse.




                                           -3-
